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Dated: November 30, 2018
The following is ORDERED:




  __________________________________________________________________


                             In the United States Bankruptcy Court
                             For the Western District of Oklahoma

       In re: Janet Sue Sharpe,                       )      Case No. 14-14210
                                                      )      Chapter 13
                       Debtor.                        )
                                                      )      Judge Janice Loyd
                                                      )
                                                      )
               Janet Sue Sexton Sharpe,               )
                                                      )
                              Plaintiff,              )
                                                      )
               vs.                                    )      Adversary No. 18-01097
                                                      )
               U.S. Bank National Association,        )
               as Trustee, and                        )      Judge Janice Loyd
                                                      )
               Nationstar Mortgage, LLC               )
                                                      )
                              Defendants.             )

            ORDER GRANTING PLAINTIFF’S REQUEST FOR
    PRELIMINARY INJUNCTION AND SETTING STATUS CONFERENCE

        On the 20th day of November 2018, this matter came on for hearing upon the
Plaintiff’s Request for Preliminary Injunction set forth in the Second Amended Complaint to
Reimpose Automatic Stay as Against U.S. Bank National Association filed on October 5, 2018
[Doc. 5] and upon the Order Granting Plaintiff’s Request for Temporary Restraining Order and Setting
Hearing on Preliminary Injunction filed on November 1, 2018 [Doc. 9]. The Plaintiff, Janet Sue
Sharpe, appeared in person and by her attorney of record, Josh Copeland. The Defendants
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appeared by their attorney of record, Jim Timberlake. The Court thereupon heard the
arguments of counsel, testimony provided by the Plaintiff, and reviewed documents entered
as exhibits into the record. Based upon the findings of fact and conclusions of law
announced on the record in open court as required by Fed. R. Bankr. P. 7052 and 9014,
which said findings and conclusions are incorporated herein by reference as if fully set forth
in this Order, and pursuant to Fed. R. Bankr. P. 7065.

        IT IS ORDERED that the Plaintiff’s request for entry of a Preliminary Injunction is
hereby Granted, and Defendants, Nationstar Mortgage LLC, and U.S. Bank National
Association, its agents, servants, employees, attorneys or assigns are hereby enjoined and
restrained from proceeding with the action pending in the District Court for Oklahoma
County, styled “Nationstar Mortgage LLC, Plaintiff v. Janet S. Sharpe, et al., Case No. CJ-2013-
3368”, including, but not limited to, seeking confirmation of the sheriff’s sale to be
conducted in said case, for 90 days from the 20th day of November 2018.

      IT IS FURTHER ORDERED that a Status Conference in this matter is set for
February 26, 2019, at 2:30 P.M., before the Honorable Janice D. Loyd, Chief United States
Bankruptcy Judge, in the 2nd Floor Courtroom of the United States Bankruptcy Court for
the Western District of Oklahoma, 215 Dean A. McGee Ave., Oklahoma City, OK 73102.

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